     Case: 22-2889    Document: 41         Filed: 02/01/2023   Pages: 55


                              No. 22-2889


         UNITED STATES COURT OF APPEALS
            FOR THE SEVENTH CIRCUIT

        IN RE: BROILER CHICKEN ANTITRUST LITIGATION

             END USER CONSUMER PLAINTIFF CLASS,
                       Plaintiff-Appellee
                                     v.

               FIELDALE FARMS CORPORATION, et al.,
                           Defendants

                APPEAL OF: JOHN ANDREN, Objector


U.S. District Court for the Northern District of Illinois, Eastern Division
        The Honorable Thomas M. Durkin / No. 1:16-cv-08637


   BRIEF OF PLAINTIFF-APPELLEE END USER CONSUMER
                   PLAINTIFF CLASS


    Steve W. Berman                       Brent W. Johnson
    HAGENS BERMAN SOBOL                   COHEN MILSTEIN SELLERS &
    SHAPIRO LLP                           TOLL, PLLC
    1301 Second Avenue                    1100 New York Avenue NW
    Suite 2000                            Suite 500, West Tower
    Seattle, WA 98101                     Washington, DC 20005
    Telephone: (206) 623-7292             Telephone: (202) 408-4600
    steve@hbsslaw.com                     bjohnson@cohenmilstein.com


   Counsel for Plaintiff-Appellee End User Consumer Plaintiff Class
                [Additional counsel on signature block]
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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No : _2_2-_2_88_9_ _ __

Short Caption: In re: Broiler Chicken Antitrust Litigation

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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          D         PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
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(3)       If the party, amicus or intervenor is a corporation:

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                     N/A

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                     N/A

(4)       Provide information required by FRAP 26.l(b)- Organizational Victims in Criminal Cases:

           N/A

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A


Attorney's Signature: /s/ Steve W. Berman                                       Date: January 18, 2023

Attorney's Printed Name: _S_te_v_e_W_._B_e_r_m_a_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).

Address: 1301 Second Avenue, Suite 2000

           Seattle WA 98101

Phone Number: _2_0_6-_6_2_3_-7_2_9_2_ _ _ _ _ _ _ _ _ _ _ __ Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: steve@hbsslaw.com
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(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A


Attorney's Signature: /s/ Shana E. Scarlett                                     Date: January 18, 2023

Attorney's Printed Name: _S_h_a_n_a_E_._S_c_a_rl_e_tt_______________________________

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).    Yes

Address: 715 Hearst Avenue, Suite 202

           Berkeley, CA 94710

Phone Number: _5_1_0-_7_2_5_-3_0_0_0_ _ _ _ _ _ _ _ _ _ _ __ Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: shanas@hbsslaw.com
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          N/A


Attorney's Signature: _K_e_v_in_K_._G_re_e_n_____________ Date: January 18, 2023

Attorney's Printed Name: _K_e_v_in_K_
                                    . G_re_e_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).    Yes

Address: 533 F Street, Suite 207

           San Diego, CA 92101

Phone Number: _6_1_9-_9_2_9-_3_3_40_ _ _ _ _ _ _ _ _ _ __                     Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: keving@hbsslaw.com
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          N/A


Attorney's Signature: Breanna Van Engelen                                       Date: January 18, 2023

Attorney's Printed Name: _B_r_ea_n_n_a_V_a_n_E_n-g~e_le_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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Address: 715 Hearst Avenue, Suite 202

           Berkeley, CA 94710

Phone Number: _5_1_0-_7_2_5_-3_0_0_0_ _ _ _ _ _ _ _ _ _ _ __ Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: breannav@hbsslaw.com
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Attorney's Signature: _/s_/_R_io_S_._P_ie_r_ce
                                            _____________ Date: January 18, 2023

Attorney's Printed Name: _R_io_S_._P_ie_r_c_e________________________________

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Attorney's Signature: _B_re_n_t_W_
                                 . J_o_h_n_s_o_n____________ Date: January 18, 2023

Attorney's Printed Name: _B_r_e_nt_W_._J_oh_n_s_o_n_______________________________

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Address: 1100 New York Avenue NW, Suite 500, West Tower

          Washington, DC 20005

Phone Number: _2_0_2-4_0_8-_4_6_00_ _ _ _ _ _ _ _ _ _ __                   Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: bjohnson@cohenmilstein.com
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Attorney's Signature: _D_a_n_ie_l_H_._S_il_ve_r_m_a_n_ _ _ _ _ _ _ _ _ _ _ Date: January 18, 2023

Attorney's Printed Name: _D_a_n_ie_l_H_._S_i_lv_e_rm_an_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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Address: 1100 New York Avenue NW, Suite 500, West Tower

          Washington, DC 20005

Phone Number: _2_0_2-4_0_8-_4_6_00_ _ _ _ _ _ _ _ _ _ __                   Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: dsilverman@cohenmilstein.com
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Attorney's Signature: _B_e_nJ~·a_m_i_n_D_._B_r_o_w_n_ _ _ _ _ _ _ _ _ _ _ Date: January 18, 2023

Attorney's Printed Name: _B_e_n~ja_m_i_n_D_._B_r_o_w_n______________________________

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          Washington, DC 20005

Phone Number: _2_0_2-4_0_8-_4_6_00_ _ _ _ _ _ _ _ _ _ __                   Fax Number: ~ N = / A ~ - - - - - - - - - - - - - - -

E-Mail Address: bbrown@cohenmilstein.com
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NIA for any information that is not applicable if this form is used.

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                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

( 1)      The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          Plaintiff-Appellee End User Consumer Plaintiff Class



(2)       The names of all law finns whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           Hagens Berman Sobol Shapiro LLP and Cohen Milstein Sellers & Toll. PLLC



(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

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          ii)       list any publicly held company that owns 10% or more of the party's, amicus' or intervenor's stock:

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Attorney's Signature: _A_li_so_n_D_e_ic_h_ _ _ _ _ _ _ _ _ _ _ _ _ _ Date: January 18, 2023

Attorney's Printed Name: _A_li_s_o_n_D_e_ic_h_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Please indicate if you are Counsel ofRecord for the above listed parties pursuant to Circuit Rule 3(d).    Yes

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                             I.     JURISDICTION

      Plaintiff-Appellee End User Consumer Plaintiff Class (“End User

Class”) agrees with Objector-Appellant John Andren’s Jurisdictional

Statement. Opening Brief of Appellant John Andren (“AOB”) at 1-2.

                       II.        ISSUES PRESENTED

      In a multistate class consisting of tens of millions of consumers who

received notice, there were just three objections. A177. Andren is the only

class member to appeal the Memorandum Opinion and Order (“Fee

Order”) awarding attorney fees to co-lead counsel for the settlement class

(Hagens Berman Sobol Shapiro LLP and Cohen Milstein Sellers & Toll,

PLLC, together “Class Counsel”). A4. Contrary to Andren’s portrayal, the

district court faithfully applied, to the record at hand, the guiding principles

this Court has established for class action fee awards. Among the district

court’s findings supporting the award, Class Counsel brought this private

action before the Department of Justice intervened to piggyback on Class

Counsel’s work—not the other way around. Class Counsel invested massive

resources when few other firms expressed interest and assumed high risk

with no assurance of any settlement, much less $181 million. A5-6, 9-11.

      Andren would weigh these and other factors differently to reduce the

award, but this does not transform his disagreements into legal errors


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reviewed de novo. The specific amount awarded was a case-specific

determination that fell well within the district court’s discretion.

      In light of the record, standard of review and Seventh Circuit law, the

issues that Andren seeks to raise are more accurately stated as follows:

      1.    Did the district court abuse its discretion by crediting relevant

evidence of the ex ante market rate for antitrust class action recoveries in

the Seventh Circuit? A11-13.

      2.    Did the district court abuse its discretion by giving “little

weight” to three lead counsel bids in other cases, years ago in other

jurisdictions, to determine the market rate? A9.

      3.    Did the district court abuse its discretion by recognizing that

while a “declining scale fee award structure might be appropriate” in some

cases, it was not appropriate under the specific facts of this case? A9-11.

      4.    Did the district court abuse its discretion by finding fee awards

from other circuits, on the record here, “relatively unpersuasive” to the

extent inconsistent with Seventh Circuit precedent? A12.

      5.    Did the district court abuse its discretion by denying part of the

discovery that Andren sought because it was not relevant to the

“appropriate fee award for this settlement?” A2.




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                    III. STATEMENT OF THE CASE

      Andren offers a grudging assessment of the work done and risk

assumed to recover $181 million in antitrust settlements from the country’s

largest producers of chicken meat. See, e.g., AOB at 4-13, 32-34. As

detailed below, his attempt to reframe the relevant facts must yield to the

record. The Opening Brief, likewise, gives short shrift to the district judge’s

conscientious management of the proceedings under Fed. R. Civ. P. 23.

Having overseen dozens of related cases generating over 6,000 docket

entries, over six years, the district court was well positioned to determine a

reasonable fee. The record, including prior factual findings that Andren

ignores, amply supports the finding at the interim fee stage that Class

Counsel’s performance was “exemplary” and warranted a “substantial

award” in line with other class action fee awards in this Circuit (and in this

litigation). A11.

A.    Early in the proceedings, Class Counsel helped the district
      court identify and remedy a conflict of interest.
      In September 2016, Hagens Berman and Cohen Milstein filed one of

the first complaints on behalf of the End User Class and moved to serve as

interim co-lead counsel. ECF No. 117 at 3 n. 2; No. 121. Plaintiffs alleged

that between 2008 and 2016, the defendant producers, such as settling

defendant Tyson Foods, “conspired to fix chicken prices higher than the

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market would naturally support, in violation of the Sherman Act § 1 and

state law.” ECF No. 541 at 1 (order denying motions to dismiss).

      Andren mentions a conflict issue arising at the outset, but he does not

explain how it was resolved. AOB at 5-6. Class Counsel were the first to

raise the conflict of interest created by representation, in the same class, of

commercial indirect purchasers and consumer indirect purchasers of

broiler chicken. As Class Counsel observed, there had been cases where

lead counsel for a combined consumer/commercial indirect class

voluntarily dismissed consumer claims and pursued classwide relief only

for commercial entities. ECF No. 121 at 1-5. In raising this concern, Class

Counsel independently investigated the consumer channel, retained expert

economists to evaluate and explain the different channels, and provided the

district court with a legal ethics opinion. Supplemental Appendix (“SA”)

74-75.

      Commending Class Counsel’s “aggressive and independent advocacy

relating to the conflict,” the district court appointed Hagens Berman as

interim class counsel for an independent consumer class. SA2-3. Cohen

Milstein initially was counsel for other plaintiffs and then was appointed

settlement co-lead counsel for the End User Class and, when the class was




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certified, interim co-lead counsel. ECF No. 1061-2 at 211; A174; ECF No.

5644.

B.      The End User Class prevailed in two rounds of motions to
        dismiss.
        The End User Class defeated multiple joint and individual motions to

dismiss and one motion to reconsider. SA75. Even for a high-stakes class

action, defendants’ challenge to the pleadings was an onslaught. ECF No.

292 (joint motion to dismiss); see also ECF Nos. 274, 276, 282, 284, 287,

294, 296 (seven additional motions). A lengthy published order, now

frequently cited in antitrust litigation, reflects the difficulty of pleading a

plausible antitrust claim in this case, including viable conspiracy

allegations. In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772

(N.D. Ill. 2017).

        The End User Class then developed legal theories increasing its

leverage for settlement negotiations that came later. The End User Class

was the first to add Agri Stats as a defendant. SA75. It was the only class to

add a rule-of-reason claim, challenging defendants’ exchange of sensitive

business information as part of the antitrust conspiracy. Id. This initiated

a second round of motions to dismiss. See, e.g., ECF No. 804. The End

User Class also defeated defendants’ renewed challenge to the operative

complaint. SA75.

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C.      Class Counsel obtained extensive discovery aiding all
        classes.
        Like the pleading phase, discovery in this case presented daunting

challenges. Class Counsel coordinated with lawyers for the other classes to

take more than 180 depositions—up to three depositions a day. SA76.

There have been more than 400 depositions to date. Id. End User Class

representatives sat for 97 hours of depositions, averaging four hours each.

SA79.

        The End User Class took the lead in questioning more than 40 of the

defendants’ employees and several third-party depositions. SA76-77. Due

to time differences and the sheer volume of work, Class Counsel often

began the day with a deposition at 6:00 A.M., and then worked later in the

day preparing for the next day’s depositions. SA76. Many depositions

occurred during the height of the pandemic, which posed logistical

challenges. Id.

        In addition, Class Counsel participated in more than 100 depositions

of opt-out distributors and retailers, using these defendant-noticed

depositions to solidify the indirect consumer claims. SA78. Building the

case from the ground up, the classes’ joint review team also analyzed more

than 13 million documents. SA75-76.



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     Much of this discovery was obtained over strident defense resistance.

As the district court found in its Fee Order: “Plaintiffs have been opposed

by many defendants, including a number of very large and well-funded

corporations, which have retained some of the most prominent and

sophisticated law firms in the United States.” A10. Class Counsel was

nonetheless largely successful in overcoming defendants’ reluctance to

produce relevant information.1

     Class Counsel’s success in these discovery battles benefited all three

classes (the End User Class, the direct purchaser class, and the commercial

class). For example, declining to limit Agri Stats’ document production to a

two-year period, the magistrate judge adopted the rationale proposed by

the End User Class and denied a protective order. Compare ECF No. 941

with No. 1090. As a result, each class was able to use highly relevant Agri

Stats documents to support their motions for class certification. SA77.

     Class Counsel also faced challenges developing evidence showing

“pass-through” of anticompetitive overcharges to consumers as indirect


  1 See, e.g., ECF No. 864 (denying Tyson’s motion for protective order);

No. 1090 (denying Agri Stats’s motion for protective order); No. 1254
(granting class plaintiffs’ motion to serve interrogatories); No. 1832
(ordering third-party Porky Products to produce downstream data); No.
2010 (granting class plaintiffs’ motion to compel documents claimed to be
privileged); No. 3622 (granting in part class plaintiffs’ motion for
production of structured data).
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purchasers (in contrast to direct purchasers, who did not face this issue).

Class Counsel negotiated discovery with dozens of distributors and grocery

stores to generate a wealth of data reflecting actual purchases and sales to

consumers, in particular, through the chain of distribution. SA78.

Plaintiffs’ experts, in turn, used this evidence as proof of systemic,

classwide pass-through of overcharges to class members—consumers such

as Andren who purchased chicken meat at anticompetitive prices. Id.

D.      Two years into the litigation, the Department of Justice
        intervened and benefited from Class Counsel’s work.
        Large-scale antitrust actions like this one are so risky that many, if

not most, such cases are filed only after government regulators have acted.

In such cases, courts recognize that private plaintiffs will be “undoubtedly

helped considerably by some of the evidence developed by the

government.”2 In this case, however, the opposite occurred. Class Counsel

advanced tens of millions of dollars in lodestar and expenses, with no

assurance of recovery, that also benefited prosecution of criminal

wrongdoing.

        In 2019, when the Department of Justice announced its investigation,

the End User Class had spent over two years litigating its claims. SA77. By


     2 In re Folding Carton Antitrust Litig., 84 F.R.D. 245, 251 (N.D. Ill.

1979).
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this time, Class Counsel had negotiated and received significant document

productions from defendants and deposed more than 80 defendant

witnesses. Id. Class Counsel had also already defeated motions to dismiss

and developed evidence supporting the private antitrust claims. Id.

     Concerned about government intervention stalling ongoing discovery,

the End User Class was the only class to oppose a stay of proceedings in

deference to the government’s investigation. ECF No. 2287. This resulted,

in part, in a much narrower stay than the government initially sought.

SA77-78. The government subpoenaed defendants’ document productions

from Class Counsel and used some of these documents at its criminal trial.

SA78.

     As the district court found in its Fee Order, Class Counsel did not

have “the benefit of a prior government investigation to guide them.” A5.

“The road to some of the settlements was eventually smoothed by later

criminal indictments and corporate plea agreements” but, the district court

found, “[Class] Counsel’s work appears to have prompted the government

investigations that led to those indictments, rather than the reverse.” A11.

     Andren thus disregards the record when he characterizes the federal

government’s involvement as acting “to protect the grand jury’s




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investigation.” AOB at 6. Andren’s partisan factual recitation to create his

preferred narrative, here and elsewhere, flouts the standard of review.3

E.     The district court approved $181 million in settlements
       recovered for the End User Class.
       In December 2021, while reserving a decision on attorney fees, the

district court gave final approval to settlements with six defendant groups

totaling $181 million for the End User Class. A172-73, 175. It certified a

settlement class of consumers who purchased broiler chicken in 24 states

and the District of Columbia. A173. As of December 2021, over 1.2 million

class members had filed claims. A177. There were only three objections—

or 0.0008% percent of all claimants. Id.

       The district court’s findings do not suggest Class Counsel have been

overpaid. Among the findings supporting settlement approval:

           Despite a shorter class period covering fewer products than the
             two other classes proposed, $181 million was the highest
             recovery to date by any of the classes.
           Class Counsel adequately represented the End User Class by
             devoting more than 67,500 hours to the case.
           The risks of non-recovery were significant, with denial of
             defendants’ motions to dismiss “a relatively close call.”
       A174-76.


     3 See Fast v. Cash Depot, Ltd., 931 F.3d 636, 639 (7th Cir. 2019)

(“underlying factual matters” in fee appeals are reviewed for clear error).
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      Of the three objectors, none have appealed the Rule 54(b) judgment

approving the settlements. Litigation currently continues in the district

court against Agri Stats and twelve defendant chicken producers who have

not settled or been dismissed from the proceedings below.

F.    The district court awarded attorney fees of $57.4 million
      and recoverable expenses of $8.75 million.
      In October 2022, the district court ruled on Class Counsel’s request to

be compensated for obtaining the settlements. Class Counsel documented

a joint lodestar, uncontested on appeal, totaling $32.85 million. SA80-81.

After reviewing the law on class action fee awards, the district court

determined that one-third of the “relevant fund amount”—meaning, after

deducting expenses from the settlement recovery—was reasonable. A13-14.

The district court awarded $57.4 million as attorney fees, $8.75 million for

expenses, and service awards to the class representatives. A15. This appeal

challenges only the fee component.

      In appealing, Andren brushes aside Class Counsel’s work as “a

feeding frenzy for a lucrative assignment,” AOB at 33, but the district court

expressly found to the contrary. The district court noted that Class Counsel

“invested massive resources of time and money when few other counsel

expressed interest, with little assurance of success.” A10. It further found

that Class Counsel’s performance had been “exemplary.” A11. The district

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court summed up as follows: “A substantial award is warranted here as a

proper incentive for high quality counsel to take on complex cases,

requiring a massive investment of time and money, with such a high risk of

non-payment.” Id.

      The Fee Order is discussed further below as relevant.

                   IV.    SUMMARY OF ARGUMENT

      Andren’s arguments rest on the erroneous premise that Seventh

Circuit law imposes inflexible rules when making a discretionary award of

attorney fees. Whatever his personal views on fee jurisprudence, Andren

does not identify any reason to disturb the fact-based rulings he has

appealed.

      First, the district court soundly relied on extensive evidence

supporting a market rate of one-third the net recovery for obtaining $181

million in settlements for the End User Class. This proof consisted of fee

awards in antitrust class actions in this Circuit, rather than the law of other

jurisdictions that Andren cites repeatedly. Objector discovery, adduced by

Andren, further undermined his position by showing that the requested fee

was in line with Class Counsel’s prior awards.

      Second, Andren fails to show that a few outdated lead counsel bids in

other cases are proof of anything other than what those lawyers were


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willing to accept as compensation in those cases to represent a class, at that

time. None was in the Seventh Circuit and, fundamentally, three bids do

not make a market, especially 13 years after the oldest bid. Andren seeks to

stretch the waning body of law on auctions—which have rightly fallen into

disfavor in this Circuit and others—well beyond its logical limits.

      Third, the district court carefully considered whether to impose a

sliding scale to Class Counsel’s fee request. It opted not to do so. Andren

cites no authority, because there is none, that requires a sliding scale. The

district court’s analysis was faithful to Seventh Circuit law. This Court

permits, but does not require, the application of sliding scales for attorney

fees in class actions.

      Fourth, the district court attached appropriate weight to fee awards

governed by Ninth Circuit law. As Andren admits, the Ninth Circuit does

not follow this Court’s ex ante market rate approach to determining

reasonable attorney fees. Further differing with Seventh Circuit fee

jurisprudence, the Ninth Circuit follows a “megafund” rule, categ0rically

limiting fee awards for recovering settlements of $100 million or more. The

Ninth Circuit’s restriction has led to smaller fee awards in large, highly

successful cases than would be awarded under Seventh Circuit law. The

district court properly accounted for these differences.


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      Fifth, contrary to his description of events, Andren had an

opportunity in the district court to address the declarations of Professors

Klonoff and Fitzpatrick. He bypassed the opportunity to make substantive

argument concerning their testimony, instead seeking discovery from these

declarants. After already allowing Andren discovery from Class Counsel,

the district court acted within its discretion by declining to permit still more

discovery of speculative value at best.

      Beyond this, Andren’s appeal is an undifferentiated critique of how

lead counsel in class actions are appointed and compensated. His policy-

laden views cannot supplant well-developed Seventh Circuit law supporting

the district court’s fee award. Andren fails to show any abuse of discretion

that might justify further collateral litigation of the interim award of

attorneys’ fees.

                             V.    ARGUMENT

      There is no dispute that Class Counsel were entitled to a fee award.

Andren contends it was too high. This challenge—short of legal error,

which he fails to demonstrate—falls squarely under the abuse of discretion

standard. As this Court reiterated recently: “We review class action fee

awards deferentially, for abuse of discretion, recognizing that the district

court is closer to the case than we are, and that a reasonable fee will often


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fall within a broad range.” In re Stericycle Sec. Litig., 35 F.4th 555, 559

(7th Cir. 2022). This “highly deferential” standard of review “follows from

the nature of attorneys’ fees litigation.” Vega v. Chi. Park Dist., 12 F.4th

696, 702 (7th Cir. 2021). There is little need for “frequent appellate review

of what essentially are factual matters” and “the need for uniformity in

attorneys’ fees awards is not great enough to warrant appellate review of

minutia.” Id.

      This, however, is precisely what Andren invites here. He tries to

avoid the deferential standard by framing his arguments as legal error

reviewed de novo. AOB at 2-4. This flawed approach is not new. See, e.g.,

Williams v. Rohm & Haas Pension Plan, 658 F.3d 629, 636 (7th Cir. 2011)

(chiding fee objectors for “trying to insert their claims into de novo

review”). Extensive deference, while appropriate, is unnecessary to affirm.

Andren’s legal discussion is cluttered with diversionary contentions not

bearing on whether there should be more litigation on Class Counsel’s

interim fees. AOB at 15-43. His various arguments, to the extent relevant

to deciding this appeal, are addressed below.4


   4 Entire passages of the Opening Brief are statements of Andren’s beliefs

and opinions identifying no reason to reverse and call for no response. See,
e.g., AOB at 22 (“The most significant problem is that courts rarely resolve
fee awards in an adversarial setting.”); id. at 38 (“Andren does not believe
Class Counsel fails to litigate zealously in the Ninth Circuit.”).
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A.    The district court acted within its discretion by crediting
      relevant evidence of the ex ante market rate.
      To place Andren’s appeal in context, “[a]ntitrust cases by their nature

are difficult and uncertain.” Kristian v. Comcast Corp., 446 F.3d 25, 59

n.21 (1st Cir. 2006). Private antitrust claims, as the record in this case

illustrates, have long been “notoriously complex, protracted, and bitterly

fought.” Weseley v. Spear, Leeds & Kellogg, 711 F. Supp. 713, 719 (E.D.N.Y.

1989). Andren’s challenges to Class Counsel’s fees, as the district court

understood, must be assessed against this backdrop. A10-11.

      1.     The fee award aligns with Class Counsel’s prior awards
             and empirical data on other awards in antitrust class
             actions in this Circuit.

      Shedding more light than three bids in hundreds of antitrust class

actions over the past 10-15 years, there was a wealth of relevant evidence

aiding the determination of an ex ante market rate. Andren fails to show

that the district court mistakenly relied on this evidence, much less to the

point of abusing its discretion.

      Rather than engaging in “slavish imitation of past fee awards,” AOB

at 43, the district court undertook a thorough analysis as required by

Seventh Circuit law. Its findings, set forth verbatim, are straightforward:

            “Most persuasive are the large number of antitrust cases in this
             circuit that have awarded one-third of the common fund as
             attorney’s fees.”
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          “The fact that fee awards in antitrust cases in this circuit are
             almost always one-third is a strong indication that this should
             be considered the ‘market rate.’”
          “Additionally, [Class] Counsel’s requested fee award is in line
             with awards they have received in cases of similar magnitude.”
      A12.

      As the district court found, there was “little to no precedent

recommending anything other than an award of 30-33 percent.” A13.

Indeed, Andren helped make a record supporting the award that Class

Counsel sought. The discovery produced to Andren showed that a one-

third contingent fee was “well within the range of awards” Class Counsel

“have received since 2016” in antitrust class actions. Id.; see A185-98.

      Likewise, declarations from two professors who have researched fee

awards in antitrust class actions supported a one-third award. Professor

Klonoff collected 13 awards in this Circuit awarding a one-third fee between

2000 and 2020, where the recovery was as high as $200 million. SA50-51.

This was not aberrational. He collected, for good measure, 14 additional

awards, in complex antitrust actions specifically, where the fee was one-

third. SA51-53. Similarly, from his examination of “almost 20 years” of

antitrust class action fee awards, Professor Fitzpatrick concluded that “class

counsel requested—and received—a flat 33⅓% in almost every” case he

identified. A67. To the same effect, the End User Class cited extensive case
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law supporting a one-third award under a percentage-of-the-fund

approach. ECF No. 5161 at 10-14 (fee memorandum); No. 5249 at 12-14

(response to objections); see also No. 5049 at 3-7 (initial brief on fees).

      Andren makes no serious effort to grapple with this record. Although

cited in the Fee Order for evidentiary support, Klonoff’s declaration is

omitted from Andren’s appendix. Compare A13 with Aiv-vi (table of

contents). Especially given the standard of review, this will not do. The

choice to “credit[] these declarations” and other fee awards in this Circuit,

while giving “minimal weight” to Andren’s preoccupation with three bids,

was “well within the district court’s discretion.” Williams, 658 F.3d at 636

(affirming fee award).

      2.    The specific circumstances of the case, familiar to the
            district court, also warranted a one-third fee.

      The district court made additional factual findings, tethered to the

record and circumstances, further supporting a one-third award. This was

consistent with Andren’s objection below, where he “acknowledge[d] that

each case is unique and presents unique challenges.” A90.

      The district court observed that Class Counsel “invested massive

resources of time and money when few other counsel expressed interest,”

and quoted this Court for the proposition that “‘[l]ack of competition not

only implies a higher fee but also suggests that most members of the

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[antitrust] bar saw this litigation as too risky for their practices.’” A10

(quoting Silverman v. Motorola Solutions, Inc., 739 F.3d 956, 958 (7th Cir.

2013)) (bracketed language added). Noting this was a “complex antitrust

case,” the district court was unpersuaded by Andren’s reliance on

Telephone Consumer Protection Act (“TCPA”) cases where “‘settlement was

likely.’” Id. (citation omitted).

      In his effort to undermine the Fee Order, Andren repeatedly runs

afoul of the clear error standard of review for factual determinations. Cash

Depot, 931 F.3d at 639. Given the district court’s detailed factual findings,

specific to this case, the district court did not, as Andren asserts, settle on

“one term: a percentage, which happens to be 30-33% for all antitrust cases

irrespective of size or stage of litigation.” AOB at 18 (emphasis added).

Similarly, Andren’s conjecture that “this litigation could not be unusually

risky” cannot displace well-grounded factual findings of a district judge

fully steeped in the case after six years of litigation. Id. at 33. Here, the

district court expressly found that there was a “high risk of non-payment”

assumed by “high quality counsel” that justified a “substantial award.” A11.

      Seventh Circuit law solidly supports this rationale. “In a high-risk

case, counsel is more likely to come away with nothing and thus would

negotiate a higher contingent fee ex ante.” Stericycle, 35 F.4th at 563. “The


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greater the risk of walking away empty-handed, the higher the award must

be to attract competent and energetic counsel.” Silverman, 739 F.3d at

958. Here, the lack of a “prior criminal or civil proceeding” provides a

“useful proxy” not just for “assessing risk,” but confirming the beneficial

impact of Class Counsel’s work. Stericycle, 35 F.4th at 563.

      As the district court emphasized, there was piggybacking but it

worked in “reverse.” A11. A price-fixing conspiracy in a major industry was

too risky for the federal government to tackle, for over two years, until

discovery in this private action unearthed damning evidence supporting

criminal indictments. SA77-78. In evaluating the factors supporting the

award, these circumstances are exceptional and contrast sharply with

Seventh Circuit decisions remanding a class action fee award for further

proceedings. Cf. Stericycle, 35 F.4th at 565 (“even if class counsel carried

the securities fraud ball across the goal line, the prior litigation gave them

excellent starting field position”).

      A comparison with the settlements obtained for the direct and

commercial classes, and resulting fee awards, reinforces the conclusion that

the fee award here falls within the “broad range” of reasonableness. Id. at

559. The direct and commercial purchasers recovered settlements of

$169.6 million and $103.9 million respectively, with their class counsel also


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each awarded a one-third net recovery fee. ECF No. 5229 at 1, 13 (direct

class); No. 5543 at 3 (commercial class). At $181 million, however, the End

User Class recovered more, despite the challenges of proving pass-through

of inflated prices for chicken and after obtaining discovery helpful to all

three classes. SA77-78. The End User Class arguably faced the riskiest case

of the three classes (due to complex pass-on issues), but achieved the

highest recovery to date. Under these circumstances, awarding Class

Counsel a lower fee than counsel for the direct-purchaser and commercial

classes would be fundamentally illogical.

      The Fee Order did everything required under Seventh Circuit

precedent. The district court “‘weighed the available market evidence and it

assessed the amount of work involved, the risks of nonpayment, and the

quality of representation[.]’” Stericycle, 35 F.4th at 559 (quoting Williams,

658 F.3d at 635-36). Nothing about its analysis is “incomplete.” AOB at 18

(quoting Stericycle, 35 F.4th at 560). Because it cannot be said the district

court “reache[d] a conclusion that no evidence in the record supports as

rational,” there was no abuse of discretion. In re Sw. Airlines Voucher

Litig., 898 F.3d 740, 743 (7th Cir. 2018).5



   5 Andren hints at, but does not develop, a multiplier argument.   AOB at
10, 20, 28-29. To be clear, the district court did not conduct a lodestar
analysis, and none was required. Americana Art China Co. v. Foxfire
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B.    The district court acted within its discretion by declining to
      give greater weight to outdated lead counsel bids from
      other jurisdictions.
      As in virtually all antitrust class actions, except a handful in the past

13 years, Class Counsel did not submit a fee bid or proposal when seeking

appointment as lead counsel for the End User Class. ECF No. 121. Rather

than conducting an auction, the district court, as noted, drew on its broad

discretionary power under Rule 23 to appoint Class Counsel. See Fed. R.

Civ. P. 23(g). As his primary argument on appeal, Andren nonetheless

contends that three lead counsel bids in other cases, two by Hagens Berman

alone, should have received greater weight in determining the fee award to

both firms here. These are the bids in Optical Disk in 2010, Lithium

Batteries in 2013, and Resistors in 2015. AOB at 19-21, 24-28, 30-33, 35.

For multiple reasons, he is wrong.

      1.    The district court considered the bids.

      Here, and throughout, Andren misstates what the Fee Order plainly

says. He faults the district court for, in his words, “refusing to consider”




Printing & Packaging, Inc., 743 F.3d 243, 247 (7th Cir. 2014). With the fee
awarded as a percentage of the common fund, there is not, and cannot be, a
multiplier issue on review. A11-13, 15. In any event, the End User Class
explained why a 1.8 multiplier, had one been awarded, was reasonable.
ECF No. 5161 at 15-17 (fee motion).
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the bids and assuming, central to his appeal, that “the only available

evidence of the ‘market rate’ is past awards.” AOB at 3, 15, 18, 28.

      The district court did no such thing. It considered the bids but

accorded them “little weight” and explained why. A9. This was within its

discretion: “A district court ‘is entitled to determine the probative value of

each [evidentiary] submission.’ The fact that we might have weighed the

evidence differently does not necessarily mean that the district court

abused its discretion [in awarding attorneys’ fees].” Pickett v. Sheridan

Health Care Ctr., 664 F.3d 632, 646 (7th Cir. 2011) (citations omitted).

      The district court observed that the “most recent [bid] is more than

seven years old,” with Optical Disk—the only case where a bid succeeded—

now 13 years old. A9. To the extent Andren relied on the bids to urge a

declining fee structure, rather than the flat percentage awarded, the district

court hewed to Seventh Circuit precedent. As the district court noted,

“declining fee scale award structures do not reflect market realities and

impose a perverse incentive ‘ensuring that at some point attorneys’

opportunity cost will exceed the benefits of pushing for a larger recovery,




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even though extra work could benefit the client.’” Id. (quoting In re

Synthroid Mktg. Litig., 264 F.3d 712, 721 (7th Cir. 2001) (“Synthroid I”)).6

      In giving the bids little weight, the district court also observed that

this Court, whatever the law elsewhere, has viewed lead counsel auctions

with skepticism. Among the concerns: “Lawyers will earn a competitive

return even at the lower level of compensation, but the class may be worse

off.” In re Synthroid Mktg. Litig., 325 F.3d 974, 979 (7th Cir. 2003)

(“Synthroid II”). In that vein, the Fee Order explained: “‘[S]olvent litigants

do not select their own lawyers by holding auctions, because auctions do

not work well unless a standard unit of quality can be defined and its

delivery verified. There is no ‘“standard quantity’ of legal services, and

verification is difficult if not impossible.’” A9 (quoting Silverman, 739 F.3d

at 957).

      In attacking the district court’s rationale, Andren mischaracterizes

the district court’s reasoning. The district court did not conflate the

difference between bids and auctions. AOB at 27. Instead, it explained why


   6 Andren cites Gunter v. Ridgewood Energy Corp., 223 F.3d 190 (3d Cir.

2000), for the proposition that the Third Circuit endorses class counsel
auctions with competitive bidding, but the opposite is true. AOB at 22. A
year after Gunter was decided, a Third Circuit Task Force, in an influential
report, “concluded that auctions are generally an inferior way of appointing
a counsel who will maximize class recovery.” Third Circuit Task Force
Report on Selection of Class Counsel, 74 Temp. L. Rev. 689, 769 (2001).
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bids from other cases had little probative value in determining the market

rate—the correct focus, Andren agrees—for Class Counsel here. A9.

Andren goes on another tangent when he proclaims that Hagens Berman’s

bids are “commitments” because made by “one of the country’s most skilled

antitrust litigation firms.” AOB at 27. The compliment is appreciated but

no reason to reverse, as these “commitments” were made many years ago in

different cases, in different Circuits, under different factual circumstances.

      2.    Similar bid arguments failed recently in Lithium
            Batteries.

      The district court’s findings, grounded on Seventh Circuit law, alone

suffice to reject Andren’s bid arguments, but there is more. Shortly after

the Fee Order last year, an appellate decision in Lithium Batteries rejected

similar contentions.

      In that case, Andren’s counsel, representing a different objector,

advanced similar theories on the impact (if any) of an unsuccessful bid. He

argued that the lower court “abused its discretion in awarding attorney’s

fees . . . by failing to consider a bid submitted by [Hagens Berman] to be

lead class counsel as a baseline[.]” In re Lithium Ion Batteries Antitrust

Litig., 2022 WL 16959377, at *1 (9th Cir. Nov. 16, 2022) (unpublished).

Disagreeing, the Ninth Circuit held that “[t]he district court properly



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declined to use the Hagens Berman bid as a baseline in awarding attorney’s

fees to class counsel.” Id.

      The rationale supports the Fee Order. The appellate panel explained

that the lower court there, much like the district court’s appointment here

of Hagens Berman and then Cohen Milstein as co-leads, “determined that a

three-firm co-lead interim counsel structure” in Lithium Batteries “was

preferable to a sole lead counsel structure.” Id. The bid there “was not

relevant to the district court’s assessment of the reasonableness of class

counsel’s fee request because the firm did not ‘secure[ ] appointment as

interim lead counsel by proposing a fee structure in a competitive bidding

process.’” Id. (quoting In re Optical Disk Drive Prods. Antitrust Litig., 959

F.3d 922, 934 (9th Cir. 2020)).

      Andren thus misstates the holding and scope of Optical Disk when he

asserts that a “competitive bid,” without more, is the “starting point to

determine [a] reasonable fee.” AOB at 24. This is so only when the bid is

successful—and submitted in the case at hand. See Lithium Batteries, 2022

WL 16959377, at *1; Optical Disk, 959 F.3d at 934. The bid closest in time

also does not move the needle in Andren’s favor. The Resistors bid, as in

Lithium Batteries, was not accepted. The court there, citing other factors

bearing on reasonableness, did not find the failed bid relevant to the award.


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In re Resistors Antitrust Litig., 2020 WL 2791940, at *1-2 (N.D. Cal. Mar.

24, 2020).

      If a rejected bid in the same case is irrelevant, as recognized in

Lithium Batteries and Resistors, then a prior bid in a different case cannot

be, as Andren repeatedly declares, the “best evidence” of market rates.

AOB at 11, 15-17, 24, 31. The district court acted well within its discretion

by giving the three bids “little weight.” A9.

      To be sure, the Seventh Circuit, unlike the Ninth Circuit and others,

calls for fee awards “in line with what an ex ante agreement would have

produced.” Stericycle, 35 F.4th at 558. But Lithium Batteries identifies the

problem with Andren’s effort to make bids from other cases relevant to this

determination. “Importantly,” the Ninth Circuit explained, “when interim

counsel is selected in the manner it was in this case—as opposed to through

a competitive bidding process—the risk that a firm will deliberately submit

a low bid to secure the position as lead counsel only to make a substantially

higher fee request when the case resolves is mitigated.” Lithium Batteries,

2022 WL 16959377, at *1. Consequently, “when the counsel structure

differs from that conceived of in the singular competitive bid submitted,

that bid offers little insight into market rates.” Id. (emphasis added).




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      The holding in Lithium Batteries echoes longstanding criticisms of

auctions as an ineffective yardstick for market rates. As the Third Circuit

Task Force Report observed: “[A]uctions generally fail in their basic stated

purpose of replicating the private market for legal services. . . . Auctions

replete with structure, matrices, crossover points and the like are nothing

like an arm’s-length negotiation between a client and counsel. More

importantly, the auction’s predominant focus on price in no way

approximates a client’s market search for counsel.” 74 Temp. L. Rev. at

737-38.

      Andren offers no viable rationale for giving the three lead counsel

bids any more weight than the district court accorded them in determining

the market rate, and falls far short of demonstrating that the district court

abused its discretion in assigning them little weight. This argument is no

basis for overturning the Fee Order.

C.    The district court acted within the discretion provided by
      Seventh Circuit law when it declined to award fees based on
      a sliding scale.
      By Andren’s description, “the district court mistakenly construed

Synthroid I’s acknowledgement of a possible disadvantage of a declining

scale as a holding forbidding declining scales.” AOB at 14 (emphasis




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added). This again attributes bright lines to the district court where there

are none, while ignoring the most important guideline from Synthroid I.

      Less dogmatically, the district court concluded that a “declining scale

fee award structure might be appropriate in cases in which settlement is a

more likely outcome and in which the ‘marginal costs’ of increasing the

settlement recovery amount are low.” A9 (citing Silverman, 739 F.3d at

959). The district court found, however, that this case did not meet those

criteria. A9-11.

      There is no reversible error in the district court’s record-specific

application of Synthroid I. Andren is correct that “Synthroid I did not

reject declining percentages for large tiers of recovery.” AOB at 28

(emphasis deleted). But Synthroid I also did not mandate such

percentages for any particular common fund fee award—a vital difference

given the abuse of discretion standard. To the contrary, this Court

admonished: “This is not to say that systems with declining marginal

percentages are always best.” Synthroid I, 264 F.3d at 721.

      Andren fails to address, or even acknowledge, this crucial

qualification. The answer to whether a sliding scale should be used under

Seventh Circuit law, although inconvenient to Andren’s rigid position, is

quite simply: it depends on the facts of the case.


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      A downward percentage scale, as the fund size increases, is suited to

securities fraud litigation because, after liability is proved, “damages often

can be calculated mechanically from movements in stock prices.”

Silverman, 739 F.3d at 959; Stericycle, 35 F.4th at 562. The same “applies

equally, if not more, to TCPA cases because nearly all of counsel’s efforts

are devoted to determining liability,” while “[d]amages are fixed by

statute.” In re Cap. One Tel. Consumer Prot. Act Litig. 80 F. Supp. 3d 781,

803 (N.D. Ill. 2015) (citing Silverman, 739 F.3d at 959). An ex ante

agreement specifying a sliding scale, as in securities cases, is entitled to

“substantial weight,” but there is no ex ante agreement here. Stericycle, 35

F.4th at 563.

      As the district court appreciated, a reasonable fee award in an

antitrust class action turns on different considerations. There are more

issues in contention and, in turn, greater risk and unpredictability cutting

against a sliding scale (or at least, sufficient to affirm here, not compelling

one). As the record reflects—common for indirect purchaser actions—there

is an intensive focus on antitrust impact and damages, including the

difficulty of proving that anticompetitive overcharges passed through the

distribution chain to consumers. See, e.g., ECF No. 3971 at 36-41 (class

certification motion). The district court acted within its discretion by


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concluding that the circumstances here, including “no government

investigation preced[ing] the complaint,” warranted a flat percentage

instead of a sliding scale. A9-12.

      Andren’s other arguments for urging a sliding scale collide, once

more, with the district court’s findings. He contends the $181 million in

settlements came “early in litigation,” for fee purposes, and thus presented

“less risk of nonpayment.” AOB at 29-30; see also id. at 19 (calling this case

“an ‘earlier settlement’ of above-average size”). But the district court

assessed the facts relevant to the risk calculus differently. After overseeing

the matter for more than six years, the district court was well positioned to

emphasize that “settlement in a complex antitrust case like this”—

generating 1,000 docket entries per year—“is far from a foregone

conclusion.” A10, 19, 54.

      On this record, the “hosannas to discretion” replete in case law on

attorney fees must have meaning. Dennison v. MONY Life Ret. Income Sec.

Plan for Emps., 710 F.3d 741, 747 (7th Cir. 2013). The district court’s

“overall sense” of the suit was that it was not just risky, but settlement for

any amount—much less the largest recovery of all three classes—was never

a given. Fox v. Vice, 563 U.S. 826, 838 (2011). Andren’s hindsight-driven

view of the litigation is a non-starter under a “deferential standard of


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review” long recognizing that “‘[d]istrict courts are far better suited than

appellate courts to assess a reasonable fee in light of the case’s

history.’” Sw. Airlines, 898 F.3d at 743 (quoting Harman v. Lyphomed,

Inc., 945 F.2d 969, 973 (7th Cir. 1991)).

       Andren observes that the comeback appeal in Synthroid II led to a

declining percentage structure. AOB at 3, 14, 17. In light of its plainly

distinguishable circumstances, though, even he does not contend that

Synthroid II could be applied “mechanically” to this case. Id. at 30. With

the terms of a reasonable fee narrowed significantly by a prior appeal, this

Court “set the fee” itself without another remand. Synthroid II, 325 F.3d at

980.

       Here, by contrast, this Court is reviewing the exercise of discretion in

the first instance when “appellate courts must give substantial deference to

these determinations.” Fox, 563 U.S. at 838. This case does not involve

“multiple appeals” implicating a practical use of the plenary power, rarely

exercised, to set the fee on appeal to avoid further proceedings on attorney

compensation. Synthroid II, 325 F.3d at 980; see 28 U.S.C. § 2106.

Indeed, even Andren does not seek such an extraordinary intervention

here, but instead seeks a vacatur and remand. AOB at 43.




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D.    In determining a reasonable fee amount, the district court
      considered, but was not required to follow, case law and fee
      awards not governed by Seventh Circuit law.
      Andren makes a counterintuitive argument: the district court erred by

declining to give greater, if not controlling, weight to fee awards from

outside the Seventh Circuit. There is a “national market for skilled antitrust

counsel,” he contends, with its epicenter in the Northern District of

California. AOB at 36-37. So fee awards from there, the reasoning goes,

are necessarily relevant when determining the market rate for Class

Counsel here. Id. at 37. The argument does not survive scrutiny.

      As the district court recognized, the focus is not whether some

antitrust lawyers practice nationally—many do—but how they are

compensated in light of differences from circuit to circuit. On class action

fee awards, circuit law is not homogeneous. Importantly for deciding this

appeal, as Andren admits, “other circuits do not strive to award the market

rate” in the same manner as the Seventh Circuit. Id. at 36. Calling an ex

ante inquiry “entirely illusory and speculative,” the Ninth Circuit expressly

declined to “adopt the Seventh Circuit’s approach in percentage fee award

cases.” Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1049-50 (9th Cir.

2002).




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      In particular, for large-scale class action recoveries, Seventh and

Ninth Circuit precedent differ in another critical respect, firmly supporting

the limited probative value the district court gave to fee awards governed by

Ninth Circuit law. As Andren acknowledges, the Ninth Circuit follows a

megafund-limitation rule that “the benchmark fee award for settlements

ought to be 25%, and less for very large settlements.” AOB at 37. But then

he asserts that “the Seventh Circuit effectively has a similar rule.” Id. This

is incorrect. In the district court’s words: “The Seventh Circuit has

expressly rejected a megafund rule because . . . it is a perverse incentive.”

A12 (emphasis added; citing Synthroid I, 264 F.3d at 718). On this key

doctrinal distinction, Seventh Circuit law is not in doubt. Compare

Williams, 658 F.3d at 636 and Synthroid II, 325 F.3d at 975 with Vizcaino,

290 F.3d at 1048.

      In weighing the probative value of Andren’s cited authorities, the

district court drew the line in the right place. The Fee Order explains: “[T]o

the extent that courts in other circuits have awarded percentages smaller

than what [Class] Counsel seek here, the Court finds those awards and their

reasoning relatively unpersuasive.” A12. Contrary to Andren’s suggestion,

this does not mean the district court cherry-picked more generous awards.

Rather, just as this Court has repeatedly distinguished Ninth Circuit law for


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applying a megafund rule, generating lower awards than other circuits, the

district court appropriately “discounted awards from the Ninth Circuit due

to its megafund rule” as not binding in the Seventh Circuit. A13.

     The ex ante fee inquiry is “inherently conjectural.” In re Trans Union

Corp. Priv. Litig., 629 F.3d 741, 744 (7th Cir. 2011). Andren seeks

mechanical precision in an area of law governed by flexible rules aiming to

achieve “rough justice” and disfavoring “speculative refinements” of the fee

amount. Williams, 658 F.3d at 637. For these reasons, the Supreme Court

discourages “appellate micromanagement” of attorney fee proceedings.

Fox, 563 U.S. at 838. Andren simply fails to show that “‘no reasonable

person could take the view espoused by the district court’” on the fee

amount. Vega, 12 F.4th at 702.

E.   The district court did not abuse its broad discretion by
     declining to allow all discovery that Andren sought.
     Andren says the district court did not give any “opportunity to rebut”

the Klonoff and Fitzpatrick declarations and erroneously failed to allow

more discovery, in the form of challenges to those declarations. AOB at 15,

35, 40-43. Both are false issues.

     As to notice, the record reflects that Andren was aware of the

declarations filed by the direct and commercial purchaser classes in the

consolidated actions below. In December 2021, ten months before the

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district court ruled on attorney fees, Andren filed a lengthy “offer of proof”

where he bypassed an opportunity to address the substance of the

declarations. A144. Instead, he merely “object[ed] to the use of such expert

testimony without the opportunity to conduct discovery on the experts.”

A154.

        So Andren’s grievance is not one of notice—as he plainly had actual

notice of these declarations—but discovery. Absent class member discovery

rights are not boundless. See, e.g., Stericycle, 35 F.4th at 571. Andren does

not identify any precedent for a class action objector deposing expert

witnesses at the fee stage, and Class Counsel are aware of none. In addition

to bypassing the opportunity to critique their analysis, Andren failed to

show that the additional round of discovery he sought would have added

anything material to what is already known, and in the record, concerning

Klonoff and Fitzpatrick as expert declarants on fees. In this Court’s words,

“given the intrusive nature of the discovery and the limited value it seemed

likely to provide, it was not an abuse of discretion” for the district court to

deny further discovery. Id.; see also Dennison, 710 F.3d at 746 (“in a class

action suit with a thousand or more class members,” courts “drowning in

discovery” need not allow more where burden “could be considerable”).




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      The district court struck a reasonable balance by allowing confidential

discovery from Class Counsel concerning their past bids and awards, but

not “information beyond actual bid and award amounts.” A2. Of course,

district courts have “broad discretion in discovery-related matters.” EEOC

v. Wal-Mart Stores E., L.P., 46 F.4th 587, 601 (7th Cir. 2022). Because

Andren has not demonstrated that “‘the judge’s ruling lacks a basis in law

or fact or clearly appears to be arbitrary,’” there was no abuse of discretion.

Stericycle, 35 F.4th at 567; see also id. at 571 (emphasizing that “[t]hese

issues are case- and fact-specific”).

      Finally, as a corollary to his discovery argument, Andren says the

district court inappropriately drew on Klonoff and Fitzpatrick for “expert

opinions about the law.” AOB at 15, 41. This assertion merely seeks to

repackage Andren’s disagreement with their analysis. Andren does not

oppose drawing on the experts’ empirical research of fee arrangements and

awards. This is all the district court did, while identifying and following

Seventh Circuit precedent. A7-12, 67; SA50-51. As has been the case since

2016, the district court considered and weighed the available evidence and

ably applied the relevant Seventh Circuit law. There was no abdication of

judicial responsibility, and no abuse of discretion.




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                          VI.   CONCLUSION

     The Fee and Discovery Orders should be affirmed. A1-16.

Dated: February 1, 2023     Respectfully submitted,

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